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R|CHARD A. HARR|S, ESQ.
Nevada Bar No. 505
GARNET E. BEAL, ESQ.
Nevada Bar No. 12693
R|CHARD HARR|S LAW F|RM
801 South Fourth Street
Las Vegas, Nevada 89101
Phone: (702) 444-4444
Fax: (702) 444-4455
E-l\/lail: Gamet@RichardHarrisLaw.com
Attorneys for Plaintiff

D|STR|CT COURT
CLARK COUNTY, NEVADA

JERE|V|Y PALOW, A_18_770481_C
CASE NO.

Plaintiff, DEPT. NO. Departmenf 17
vs.

COMPLA|NT
GE|GO GENERAL lNSURANCE COMPANY;
DOE lNDlVIDUALS |-X, inclusive; and ROE

CORPORAT|ONS |-X', inclusive,

Defendants.

 

Plaintiff JEREl\/lY PALOW, by and through his counse|, GARNET E. BEAL, ESQ. of the
R|CHARD HARRIS LAW FlRl\/l, and for his causes of action against Defendants, and each 01"
them, complains and alleges as follows:

1. That Plaintiff JEREl\/lY PALOW (hereinafter “Plaintiff") is, and at all times
mentioned herein was, a resident of the Wisconsin.

2. That Defendant, GE|GO GENERAL lNSURANCE COMPANY (hereinafter “GE|CO"),
is, and at all times mentioned herein, a corporation, chartered under the laws of the State

of illinois and doing business in the State of Nevada and deriving substantial revenue from

the state.

Case Number: A-18-770481-C

 

 

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3. That the true names and capacities, whether individua|, corporate, associate or
otherwise of DOE lNDlV|DUALS l through X, and ROE CORPORAT|ONS l through X, are
unknown to Plaintiff, who therefore sues Defendants by such fictitious names. Plaintiff is
informed and believes and thereon alleges that each of the Defendants designated as DOE
lNDlV|DUALS l through X and ROE CORPORAT|ONS l through X is responsible in some
manner for the events and happenings referred to in this action and proximately caused
damages to Plaintiff as herein alleged, and that Plaintiff will ask leave of this Court to
amend the Comp|aint to insert the true names and capacity of said Defendants, and when
the same have been ascertained, join such Defendants in this action together with the
proper charges and allegations

4. That at all times pertinent, Defendants and each of them were agents, servants,
employees or joint venturers of every other Defendant herein, and at all times mentioned
herein were acting within the scope and course of said agency, employment, or joint
venture, with knowledge and permission and consent of all other named Defendants.

5. On or about l\/lay 28, 2016, Plaintiff was a passenger in a vehicle traveling
on north on Sandy Ridge, near Sunridge Heights, in Henderson, C|ark County, Nevada.

6. At that time, Plaintiff was t-boned by non-party Domenique Symone Terry
(“Terry") an underinsured adverse driver.

7. The adverse driver was operating her vehicle in a negligent, careless, reckless
and wanton manner and failed to use due care and negligently t-boned Plaintiff's causing
him damages and injuries.

8. The adverse drivers' actions violated the laws of the State of Nevada governing
their conduct under the circumstances and are thereby deemed to be negligent.

9. Non-party Christine Burrell carried 25,000/50,000 insurance coverage with The
Hartford lnsurance Company.

10. The Hartford lnsurance Company has tendered their insureds' policy limits of

$25,000.00.

 

 

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11. At the time of the subject accidents Plaintiff maintained an automobile
insurance policy with uninsured/underinsured motorist bodily injury coverage limits of
$100,000/$300,000 per incident with Geico.

12. At some time prior to lVlay 28, 2016, GE|CO issued a policy of automobile
insurance to Plaintiff (Policy No. 4149656425). This policy of insurance contained
uninsured/underinsured motorist bodily injury coverage with limits of $100,000/$300,000
per incident. `

13. Said policy of insurance contained provisions providing coverage to the
Plaintiff for damages suffered as a direct and proximate result of the negligence of
operators of uninsured/underinsured motor vehicles

14. Plaintiff made all required premium payments due under said policy and
there was a binding contract of insurance in full force providing coverage for Plaintiff on
l\/|ay 28, 2016.

15. As a result of the lVlay 28, 2016, aforementioned motor vehicle accident,
Plaintiff suffered severe injuries and damages

16. Based upon Plaintiff's extensive medical special damages and the nature
and extent of his injuries on l\/larch 21, 2017, Plaintiff sent a written demand that
Defendant GE|CO pay the Ull\/| policy limits of $100,000.00. Attached to Plaintiff's letter
was medical records and billing showing the severity of Plaintiff's injuries and past and
future medical specials totaling $52,445.68.

17. Since that time, GE|CO has undervalued Plaintiff's underinsured motorist claims
without proper cause.

18. GElCO has a duty to evaluate the claim and reasonably compensate Plaintiff for
his damages

19. GElCO knowingly performed an unreasonable investigation, evaluation and
processing of Plaintiff's claim.

20. To date, Plaintiff has fully cooperated with all of GE|CO's requests

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21. GE|GO failed to complete its evaluation and investigation within a reasonable
time frame.

22. GE|GO knew Plaintiff suffered injuries as a result of this accident.

23. GEIGO has no reasonable basis for its conduct.

24. GE|GO undervalued Plaintiff's valid underinsured motorist claim without proper
cause.

25. Plaintiff's underinsured motorist claim is a loss covered by the GE|GO policy.

26. GElGO failed to timely pay benefits upon proof of this loss

27. GE|GO refused to timely make an adequate payment to Plaintiff, as was
required under the subject Policy.

28. GE|GO's refusal to pay the Policy limits was made without a reasonable basis
in fact or law.

29. GE|GO's refusal to pay the Policy limits was made in bad faith and for the
purpose of denying the benefits of contract for underinsured/uninsured motorist coverage
to Plaintiff.

30. As a direct and proximate result of the negligence of the third-party driver.
Plaintiff has been caused to suffer serious bodily injury, disability and pain and suffering,
which may be permanent and/or experienced in the future, all other general damages in
excess of $15,000.

31. That as a direct and proximate result of the negligence of the third-party
driver, Plaintiff received medical and other treatment for the aforementioned injuries and
that said services, care and treatment are continuing and shall continue in the future, all to
the damage of Plaintiff.

32. That as a direct and proximate result of the negligence of the third-party
driver, Plaintiff has been required to alter her physical activities and has limited

occupational and recreational activities which have caused-and shall continue to cause-

 

 

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Plaintiff loss of earning capacity, lost wages physical impairment, mental anguish, and loss
of enjoyment of life in a presently unascertainable amount.

33. GE|GO’s refusal to pay Plaintiff's benefits due under the applicable contract
of insurance was malicious willful, and intentional and in fact, did cause injury to Plaintiff in
excess of $15,000.00.

34. That Plaintiff has been required to engage the services of an attorney, and

according|y, has incurred attorney's fees and costs to bring this action.

FlRST CAUSE OF ACT|ON
(UlM BREAcH OF CoNTRAcT CLAiM-DEFEN DANT GE|GO)

 

35. Plaintiff repeats and reallegs the allegations contained in Paragraphs 1
through 36 as fully set forth herein.

36. Plaintiff had a contract, Policy 4149656425, with Defendant GE|GO.

37. Said Policy contained and Underinsured and/or Uninsured motorist provision
providing coverage to the Plaintiff and any passengers for damages as a direct and
proximate result of the negligence of other vehicle operators when the other operators
lacked or had insufficient insurance coverage.

38. Said policy of insurance was in full force and effect on lVlay 28, 2016, when
the subject incident occurred.

39. GE|GO is contractually obligated to Plaintiff who was an insured under the
subject policy.

40. GE|GO failed to timely pay benefits under the underinsured/uninsured
portion of the subject policy, thereby breaching its contractual duty.

41. GE|GO undervalued Plaintiff's valued underinsured motorist claims without
proper cause.

42. As a direct and proximate result of GE|GO's breach of contract, Plaintiff has

sustained general damages in excess of $15,000.

 

 

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43. That as a result, Plaintiff has suffered damages up to and including the limits
of all available underinsured motorist coverage for personal injury in an amount in excess
of $15,000.

44. As a further direct and proximate result of the named Defendant and Doe
and Roe Defendants' negligence, Plaintiff, incurred expenses for medical care and

treatment in an amount in excess of $15,000.

SECOND CAUSE OF ACT|ON
(BREAcH oF THE CovENANT oF Gooo FAiTH ANo FAiR DEAuNG-DEFENDANT GE|GO)

45. Plaintiff repeats and realleges the allegations contained in Paragraphs 1
through 44 as fully set forth herein.

46. Plaintiff and Defendant GE|GO were bound by a contractual relationship
pursuant to the Policy. The expressed and implied promises made in connection with that
relationship, and the acts conduct, and communication resulting in these implied promises
obligated Defendant to act in good faith toward and to deal fairly with Plaintiff.

47. Defendant GE|GO and/or Roe Corporations and its agents owed a duty to
Plaintiff to comply with its implied covenant of good faith and fair dealing.

48. At all times mentioned herein, GE|GO and/or Roe Corporation, and its agents
further owed a duty to the Plaintiff to ensure it did not impair the Plaintiff's right to receive
benefits of the above described policy of insurance.

49. GE|GO and/or Roe Corporation, through its agents acted in bad faith and
violated its implied covenant of good faith and fair dealing by repeatedly and continuously
failing and refusing to pay to the Plaintiff the sum of money due and owing to Plaintiff under
the above-described policy of insurance.

50. The failure .of GE|GO, to exercise good faith and fair dealing has resulted in
substantial delay in receipt of benefits to which Plaintiff is entitled and has and will result in

substantial economic loss as well as attorney's fees and costs

 

 

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51. The failure of GE|GO to exercise good faith and fair dealing has resulted in
Plaintiff suffering severe emotions distress

52. The aforesaid conduct of GE|GO was in willful, wanton and reckless disregard
of Plaintiff's interests to such extent as to constitute oppression, fraud and actual malice
toward Plaintiff, thus entitling Plaintiff to an award for punitive damages

53. The conduct of GE|GO was intentional, malicious and reckless and in
conscious disregard of the consequences to Plaintiff, therefore Plaintiff is entitled to
punitive damages

54. By reason of the premises and as a direct and proximate result thereof,
Plaintiff has incurred expenses for medical care and treatment and expenses incidental
thereto, all to his damage for which the present amount is unknown; Plaintiff is informed
and believes and thereon alleges that such expenses will continue in the future, all to his
damage in a presently unascertainable amount. ln this regard, Plaintiff prays leave of this

Court to insert all said damages herein when the same have been full ascertained

Tl-llRD CAUSE OF ACT|ON
(VioLATioN oF UNFA\R CLAlMs PRAcTicEs AcT-DEFENDANT GE|GO)

55. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 to
54 as if fully set forth herein.

56. That Plaintiff and Defendant GE|GO were bound by a contractual relationship
pursuant to the Policy. `

57. GE|GO further breached the Covenant of Good Faith and Fair Dealing by its
violation of provisions of the Unfair Claims Practices Act (NRS § 686A.310) set out below;
violations which were done with GE|GO’s actual and/or implied knowledge.

58. GE|GO's deliberate delay in paying benefits due to Plaintiff is in direct
violation of both the Nevada insurance Regulations and NRS 686A.310 including, but not

limited to Sections 1, subsections (b), (c), (e), (f) and (n).

 

 

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59. GE|GO failed to acknowledge and act reasonably prompt upon
communications with respect to claims arising under insurance policies as prohibited by
NRS § 686A.310(1)(b).

60. GE|GO failed to adopt and implement reasonable standards for the prompt
investigation and processing of claims arising under the insurance policy, as prohibited by
NRS § 686A.310(1)(c).

61. GE|GO failed to affirm or deny coverage of claims within a reasonable time
after proof of loss requirements had been completed and submitted by the insured as
prohibited by NRS § 686A.310(1)(d).

62. GE|GO failed to effectuate a prompt, fair and equitable settlement of claims
in which its liability had become reasonably clear, as prohibited by NRS § 686A.310(1)(e).

63. GE|GO compelled Plaintiff to institute litigation to recover amounts due under
the Policy, as prohibited by NRS 686A.310(f).

64. GE|GO attempted to settle the claim for less than the amount of which a
reasonable person would have believed he was entitled by reference to written or printed
advertising material accompanying or made part of an application, in violation of NRS §
686A.310(1)(g).

65. On more than one occasion GE|GO refused to consider or evaluate Plaintiff's
claim, in violation of the Nevada Fair Claims Protection Act.

66. The actions of GE|GO as described herein, constitutes a breach of the
covenant of good faith and fair dealing with Plaintiff, and as a direct and proximate result

thereof, Plaintiff has been damaged in a sum in excess of $15,000.

FOURTH CAUSE OF ACTION
(U NJusT EN RicHMENT-DEFENDANT GE|GO)

67. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 to

66 as if fully set forth herein.

 

 

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68. Pursuant to the contractual arrangement between the parties GE|GO was
obligated to pay Plaintiff for damages received as a result of any accident with an
underinsured motorist.

69. Retaining amounts it was required to pay pursuant to the contractual
agreement has unjustly enriched GE|GO.

70. The actions of GE|GO as described herein, constitutes unjust enrichment at
Plaintiff's expense, and as a direct and proximate result thereof, Plaintiff has been
damaged in a sum in excess of $15,000.

71. As a direct and proximate result, Plaintiff has had to retain counsel to
prosecute this action and is entitled to attorney fees and costs

WHEREFORE, Plaintiff, expressly reserving the right to amend this Complaint
prior to or at the time of trial of this action to insert those items of damage not yet fully

ascertainable, praysjudgment against the Defendants, and each of them, as follows:

1. General damages sustained by Plaintiff in an amount in excess of $15,000.00'
2. Special damages to be determined at the time of trial;
3. Consequential damages including attorney's fees;
4. Expectation damages for denied policy benefits in excess of $15,000;
5. l\/ledical and incidental expenses already incurred and to be incurred;
6. Lost earnings and earing capacity;
7. Reasonable attorney's fees and costs of suit;

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8. interest at the statutory rate; and

DATED TH|S 5"‘ day Of lVlarCh, 2018.

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9. For such other relief as the Court deemsjust and proper.

R|CHARD HARR|S LAW F|RM

/s/ Garnet E. Beal, Esq.

 

Richard Harris, Esq.
Nevada Bar No. 505
Garnet E. Beal, Esq.
Nevada Bar No. 12693
801 South Fourth Street
Las Vegas, NV 89101
Attorneys for Plaintiff

 

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E-l\/lail: garnet@RichardHarrisLaw.com
Attorneys for Plaintiff

D|STR|CT COURT
CLARK COU NTY, NEVADA

JERE|\/IY PALOW, A-18-770481-C
CASE NO.

DEPT_ NO- Department 17

Plaintiff,

VS.
|NiT|AL APPEARNACE FEE D|SCLSOURE

GE|GO GENERAL lNSURANCE COl\/lPANY;
DOE lNDlV|DUALS l-X, inclusive; and ROE
CORPORATIONS l-X, inclusive,

Defendants.

 

Pursuant to NRS Chapter 19, as amended by Senate Bill 106, filing fees are
submitted for parties appearing in the above entitled action as indicated below:

JEREI\/|Y PALOW $270.00
TOTAL REM|`|'I`ED: $270.00

DATED this 5th day of lVlarch, 2018.

R|CHARD HARR|S LAW F|RM

/s/Garnet E. Beal

GARNET E. BEAL, ES .
Nevada Bar l\lo. 126 3

801 South Fourth Street
Las Vegas Nevada 89101
Attorney for Plaintiff

Case Number: A-18-770481-C

 

 

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CLARK COUNTY, NEVADA

JEREMY PALow,
CASE NO_ A-18-770481-o

Plaintiff, DEPT- NO- Department 17

VS.
SUMMONS
GE|GO GENERAL lNSURANCE COMPANY;
DOE lNDlV|DUALS l-X, inclusive; and ROE
CORPORAT|ONS |-X, inclusive,

Defendants.

 

NOT|CE! YOU HAVE BEEN SUED. THE COURT MAY DEC|DE AGA|NST YOU WlTHOUT YOUR BE|NG
HEARD UNLESS YOU RESPOND W|TH|N 20 DAYS. READ THE lNFORMAT|ON BELOW.

TO THE DEFENDANT: A civil Complaint has been filed by the plaintiff against you for the relief set forth in the
Complaint.

GE|CO GENERAL lNSURANCE COMPANY

1. lf you intend to defend this |awsult, within 20 days after this Summons is served on you exclusive of

the day of service, you must do the following:
a. File with the Clerk of this Court. whose address is shown below, a formal written response to the

Complaint in accordance with the rules of the Court.
b. Serve a copy of your response upon the attorney whose name and address is shown below.

2. Unless you respond, your default will be entered upon application of Plaintiff and this Court may enter
a judgment against you for the relief demanded in the Complaint, which could result in the taking of money or
property or other relief requested in the Complaint.

3. lf you intend to seek the advice of an attorney in this matter, you should do so promptly so that your
response may be filed on time.

4. The State of Nevada, its political subdivisions agencies officers employees board members
commission members and legislators each have 45 days after service of this Summons within which to file an
Answer or other responsive pleading to the Complaint.

issue at the direction of:

 

 

R|CHARD HARR|S LAW F|RM CLERK OF COUli}l?!"'~»'"‘i? -. ., »-.
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/s/ Garnet E. Bea/ `\/-,)/(){L why ,{FgL/‘,J_,
GARNET E. BEAL, ESQ. DEPUTY Cl_`EFlK Date
Nevada Bar No.12693 Regional Justice Center - -
801 S. Fourth Street 200 Lewi.s Avenue lrlsh Lap|ra
Las Vegas, Nevada 89101 Las Vegas, Nevada 89155
Attorney for Plaintiff

 

Case Number: A-18-770481-C

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Case 2:18-cv-00733-Gl\/|N-GWF Document 1-1 Filed 04/23/18 Page 15 of 15

AFF|DAV|T OF SERV|CE

 

 

 

 

 

Case: Court: County: jobs
A-18-770481-C Eighthjudicial District Court C|ark 2119740
Plaintiff/ Petitioner: Defendant/ Respondent:

jeremy Paiow Geico Generai insurance Company
Received by: For:

Serve Vegas LLC R|CHARD HARR|S LAW FlRl\/i

 

 

To be served upon:

 

 

Geico General insurance Company

 

i, Nicholas Ohlson, being duly sworn, depose and say: i am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, l was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name / Address: Linda Stratton , Company: 3300 W. Sahara Avenue Ste. 275, Las Vegas, NV 89102
Manner of Service: Government Agency, l\/lar 23, 2018, 1119 pm PDT
Documents: Complaint, Summon, $30.00 Processing Fee

Additional Comments:

1) Successfui Attempt: l\/iar 23, 2018, 1:19 pm PDT at Company: 3300 W. Sahara Avenue Ste. 275, Las Vegas, NV 89102 received by Linda
Stratton . Age: 40,' Ethnicity: Caucasian; Gender: Female; Weight: 160,' Height: 5'8"; Hair: Black;

Pursuant to NRS14.020 Documents were served by leaving a true copy, with the person stated above, who is a person of suitable age and
discretion at the most recent address of the registered agent shown on the information filed with the Secretary of State.

i declare under penalty of perjury that the foregoing is true and correct.

1§\&401\¢

Nicholas Oh|son Date
Nevada License #1914€

 

Serve Vegas LLC

9811 W. Char|eston Blvd 2-732
Las Vegas, NV 89117
702-609-0113

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